            Case 1:23-cv-00314-RP Document 28 Filed 06/05/23 Page 1 of 2




                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                      AUSTIN DIVISION

EDWARD RANDOLPH                              §
TURNBULL IV,                                 §
                                             §
        Plaintiff,                           §
                                             §
v.                                           §
                                             §             CASE NO. 1:23-cv-00314
COMMISSION FOR LAWYER                        §
DISCIPLINE, ET AL.                           §
                                             §
                                             §
        Defendants.                          §


_____________________________________________________________________________
 DEFENDANT JENNY HODGKINS’S UNOPPOSED MOTION FOR EXTENSION OF
     TIME TO ANSWER OR OTHERWISE RESPOND TO PLAINTIFF’S FIRST
                           AMENDED COMPLAINT
_____________________________________________________________________________


        Plaintiff filed this lawsuit on March 22, 2023. Hodgkins was served May 19, 2023.

        On May 25, 2023, Plaintiff filed his First Amended Complaint.

        Defendant Jenny Hodgkins (“Defendant” or “Hodgkins”) now respectfully requests the

Court to extend the deadline to answer or otherwise respond to Plaintiff’s First Amended

Complaint through and including June 23, 2023. Plaintiff does not oppose the Motion.

                                                   Respectfully Submitted,
Dated: June 5, 2023



                                                   /s/ Daniel J. Olds
                                                   DANIEL J. OLDS
                                                   State Bar No. 24088152
                                                   dolds@clarkhill.com



MOTION OF EXTENSION OF TIME TO ANSWER                                                   PAGE 1
ClarkHill\99991\464951\271806065.v1-6/5/23
            Case 1:23-cv-00314-RP Document 28 Filed 06/05/23 Page 2 of 2




                                                     JADD F. MASSO
                                                     State Bar No. 24041411
                                                     jmasso@clarkhill.com
                                                     CLARK HILL PLC
                                                     901 Main Street, Suite 6000
                                                     Dallas, Texas 75202
                                                     Telephone: (214) 651-4300
                                                     Fax: (214) 651-4330

                                                     ATTORNEYS FOR JENNY HODGKINS



                                    CERTIFICATE OF CONFERENCE
        I certify that Defendant’s counsel has conferred with Plaintiff’s counsel via e-mail on

May 31, 2023, regarding the relief herein and been advised that Plaintiff is unopposed to the

relief requested herein.



                                                           By: /s/ Daniel Olds
                                                               Daniel Olds



                                       CERTIFICATE OF SERVICE

        I hereby certify that on June 5, 2023, a true and correct copy of the foregoing was served

via the Court’s ECF filing system on all counsel of record.



                                                              By: /s/ Daniel Olds
                                                                   Daniel Olds




MOTION OF EXTENSION OF TIME TO ANSWER                                                       PAGE 2
ClarkHill\99991\464951\271806065.v1-6/5/23
